Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 1 of 7 PageID 162
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 2 of 7 PageID 163
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 3 of 7 PageID 164
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 4 of 7 PageID 165
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 5 of 7 PageID 166
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 6 of 7 PageID 167
Case 8:05-cr-00061-RAL-E_J Document 66 Filed 08/26/05 Page 7 of 7 PageID 168
